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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
  Civil Action No. 21-cv-888-CMA

  PRISCILLA MARTINEZ,

         Plaintiff,

         v.

  PROPERTIES OF THE SUMMIT JOINT VENTURE, R.L.L.P. d/b/a RE/MAX
  PROPERTIES OF THE SUMMIT, a Colorado Limited Liability Partnership; and

  CONNIE ANGELL,

         Defendants.


                  Joint Stipulation of Dismissal with Prejudice
  ______________________________________________________________________

         Plaintiff Priscilla Martinez and Defendants Properties of the Summit Joint Venture

  d/b/a RE/MAX Properties of the Summit and Connie Angell, by and through their

  undersigned counsel, HEREBY STIPULATE to dismissal of all claims WITH

  PREJUDICE pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,

  with each party to bear its own fees and costs.

  Dated: April 28, 2021

  s/ Felipe Bohnet-Gomez                            s/ Stephen Rotter
  Felipe Bohnet-Gomez                               Stephen Rotter
  RATHOD | MOHAMEDBHAI LLC                          THE WORKPLACE COUNSEL
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                                                    the Summit, RLLP and Connie Angell



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